Case: 3:23-cv-00072-GFVT-EBA       Doc #: 53 Filed: 01/01/25     Page: 1 of 15 - Page
                                     ID#: 867



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF KENTUCKY
                    CENTRAL DIVISION AT FRANKFORT

MID-AMERICA MILLING COMPANY,
LLC, et al.,

              Plaintiffs,                         Case No. 3:23-cv-00072-GFVT




     v.

U.S. DEPARTMENT OF
TRANSPORTATION, PETER P.
BUTTIGIEG, SHAILEN BHATT, &
TODD JETER,

              Defendants.


MOTION TO INTERVENE AND TO MODIFY PRELIMINARY INJUNCTION

      Proposed Intervenor Plaintiffs Central Seal Company (“Central Seal”) and

Charbon Contracting, LLC (“Charbon”) move to intervene in the above-styled

matter by right pursuant to Fed. R. Civ. P. 24(a) or, alternatively, by permission

pursuant to Rule 24(b). Proposed Intervenors’ Verified Complaint is attached

hereto as Exhibit A. Additionally, Central Seal and Charbon move the Court to

modify the scope of its October 31, 2024 injunctive order (DN 50) enjoining

Defendants from “mandating the use of race- and gender-based rebuttable

presumptions for the United States Department of Transportation contracts

impacted by DBE goals upon which Plaintiffs bid” to extend to bids involving

Intervenor Plaintiffs.
Case: 3:23-cv-00072-GFVT-EBA        Doc #: 53 Filed: 01/01/25     Page: 2 of 15 - Page
                                      ID#: 868



                                  BACKGROUND

      On September 23, 2024, the Court entered a preliminary injunction in favor

of Plaintiffs Mid-America Milling Company, LLC (“MAMCO”) and Bagshaw

Trucking Inc. (“Bagshaw”) barring the United States Department of Transportation

(“USDOT”) and its representatives from mandating the use of race- and gender-

based presumptions for USDOT contracts impacted by the Disadvantaged Business

Enterprise (“DBE”) Program. (See DN 44 at 27.) Nevertheless, because the Sixth

Circuit previously held that the Court “abused its discretion in extending [a]

preliminary injunction’s protection to non-party contracts in the plaintiff States,” in

a similar matter, the Court in this matter limited the scope of its injunction to apply

only to contracts for which MAMCO and Bagshaw intended to bid and not to any

other contracts or parties. (DN 44 at 27 (quoting Comm v. Biden, 57 F.4th 545, 557

(6th Cir. 2023)).

      On October 8, 2024, following the Court’s injunction, USDOT issued a

guidance memorandum to the Kentucky Division Administrator identifying certain

contracts on which MAMCO and Bagshaw intended to bid, and directing the

Kentucky Transportation Cabinet (“KYTC”) to set 0% DBE goals for the identified

contracts. (Verified Compl., Exh. A, ¶ 2.) USDOT’s guidance, however, directed

KYTC to “continue to fully implement the DOT DBE program, including setting

DBE contract goals on contracts that are not identified” as involving potential bids

from MAMCO and Bagshaw. (Id.) This guidance, and KYTC’s implementation of

said guidance, means that the KYTC is continuing to effectuate unconstitutional



                                           2
Case: 3:23-cv-00072-GFVT-EBA       Doc #: 53 Filed: 01/01/25      Page: 3 of 15 - Page
                                     ID#: 869



DBE regulations and program goals with respect to all bidders other than MAMCO

and Bagshaw,

      Proposed Intervenor Plaintiffs Central Seal and Charbon are two highway

construction contractors on similar footing as MAMCO and Bagshaw. Central Seal

is a premier striping and sealing company that provides striping services in

Kentucky, as well as other states in the Midwest and southeastern United States.

(Id. ¶ 11.) Charbon is a Kentucky limited liability company that provides turnkey,

full service pavement preparation and asphalt milling services in Kentucky,

Tennessee, and Indiana. (Id. ¶ 12.) Both Central Seal and Charbon have lost bids

on projects let by KYTC, as well as other state and federal agencies, solely as a

result of these agencies’ implementation of USDOT’s unconstitutional DBE program

regulations. (Verified Compl., Exh. A, ¶¶ 4, 22–26.)

      Moreover, Central Seal and Charbon have been and remain qualified, willing,

and able to bid on construction contracts impacted by the federal DBE program.

(Id. ¶ 23.) Both routinely bid for federally funded surface transportation contracts

in Kentucky and other states. (Id.) For years, Central Seal and Charbon have

suffered discrimination by federal fund recipients on race-based and gender-based

grounds that violates their rights to equal protection guaranteed under the Fifth

and Fourteenth Amendments to the United States Constitution. (Id.)

      For example, Central Seal has bid on numerous projects let by KYTC from

2020 to the present. (Id. ¶ 24.) In these four years alone, Central Seal has

submitted a bid, but not been awarded the work, on dozens of projects impacted by



                                          3
Case: 3:23-cv-00072-GFVT-EBA       Doc #: 53 Filed: 01/01/25     Page: 4 of 15 - Page
                                     ID#: 870



DBE goals amounting to millions of dollars’ worth of work. (Id.) In many of these

projects, Central Seal submitted bids lower than their DBE competitors, but still

was not awarded the work in favor of the bidding DBEs. The dollar value of these

lost projects since 2020 is nearly $4 million. As but one recent example, Central

Seal submitted the lowest subcontractor bid to perform highway construction

services related to a project in Mason County, Kentucky in September, 2024, but

was rejected in favor of a DBE with a substantially higher bid. (Id.)

      Charbon also bids on numerous milling and striping projects let by KYTC

which are impacted by DBE goals. (Id. ¶ 25.) Indeed, virtually all of the projects on

which Charbon bids involve DBE competition. Since the beginning of 2023,

Charbon has bid on over 80 such projects in various counties in Kentucky as a

subcontractor candidate. (Id.) Despite being the lowest bid subcontractor in the

letting process for many of these projects, Charbon lost the bids in favor of a DBE so

that the prime contractor could meet DBE program goals. Additionally, even on

projects where Charbon is not the lowest bidder, if there are no DBEs bidding on

such projects, Charbon typically has an opportunity to obtain the work by

negotiating its bid price down with the prime contractor, as many contractors value

highly the quality of Charbon’s services. (Id.) Where a project involves a DBE

bidder, however, the prime contractor does not negotiate the price of Charbon’s bid

because these prime contractors discriminate against Charbon in favor of DBEs so

that the prime contractor can meet the DBE contract goals. (Id.)




                                          4
Case: 3:23-cv-00072-GFVT-EBA       Doc #: 53 Filed: 01/01/25      Page: 5 of 15 - Page
                                     ID#: 871



      In other words, like MAMCO and Bagshaw, both Charbon and Central Seal

have been discriminated against—and suffered actual injuries in the form of lost

work, and lost profits resulting from that loss of work—as a direct result of

Defendants’ implementation of DBE goals with respect to KYTC-let projects in

Kentucky. (Id. ¶ 26.) These DBE goals force Charbon and Central seal to “compete

in a race-based system” that prejudices them. Mid-America Milling Company, LLC

v. U.S. Dept. of Transp., 2024 WL 4267183, at *3 (E.D. Ky. Sept. 23, 20224) (citing

Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719

(2007)).

      Given that USDOT continues to mandate DBE program goals with respect to

KYTC and other state agencies, Central Seal and Charbon will continue to suffer

harm as a result of Defendants’ implementation of DBE-related regulations in a

manner in which this Court has already found to be unconstitutional. (See

generally, Order, DN 44.) Accordingly, Central Seal and Charbon seek intervention

in this matter in order to request a narrow modification of the Court’s previously

issued injunctive orders (DN 44, 50) to extend to projects on which Central Seal and

Charbon bid, as well as to assert the claims described in greater detail in their

Verified Complaint.

I.    Central Seal and Charbon are entitled to intervene in this action.

      Given the limitation in the scope of the Court’s preliminary injunction (DN

50) to contracts on which MAMCO and Bagshaw bid, USDOT’s decision to continue

implementing unconstitutional DBE program regulations will continue to harm

non-parties bidding on projects impacted by DBE goals, including Charbon and
                                          5
Case: 3:23-cv-00072-GFVT-EBA        Doc #: 53 Filed: 01/01/25       Page: 6 of 15 - Page
                                      ID#: 872



Central Seal. Accordingly, and for the reasons discussed below, the Court should

allow Charbon and Central Seal to intervene in this matter pursuant to Fed. R. Civ.

P. 24 in order to seek a modification of the Court’s injunction to extend to projects

on which these entities bid.

      A.     Central Seal and Charbon are entitled to intervention under
             Rule 24(a)(2).

      As an initial matter, Central Seal and Charbon are entitled to intervention of

right pursuant to Fed. R. Civ. P. 24(a)(2). Rule 24(a)(2) provides that “[o]n timely

motion, the court must permit anyone to intervene” who “[c]laims an interest

relating to the property or transaction that is the subject of the action, and is so

situated that disposing of the action may as a practical matter impair or impede the

movant’s ability to protect its interest, unless existing parties adequately represent

that interest.” Fed. R. Civ. P. 24(a)(2).

      The Sixth Circuit “has interpreted the language of the Rule to require an

applicant to show that: 1) the application was timely filed; 2) the applicant

possesses a substantial legal interest in the case; 3) the applicant’s ability to protect

its interest will be impaired without intervention; and 4) the existing parties will

not adequately represent the applicant’s interest.” Blount-Hill v. Zelman, 636 F.3d

278, 283 (6th Cir. 2011) (citations omitted). Central Seal and Charbon satisfy each

of the four elements.




                                            6
Case: 3:23-cv-00072-GFVT-EBA           Doc #: 53 Filed: 01/01/25   Page: 7 of 15 - Page
                                         ID#: 873



              1.     Intervention is timely sought.

       First, Central Seal and Charbon’s motion to intervene is timely. “In

determining the timeliness of an application for intervention of right,” the Court is

to consider five factors:

       1) the point to which the suit has progressed; 2) the purpose for which
       intervention is sought; 3) the length of time preceding the application
       during which the proposed intervenors knew or should have known of
       their interest in the case; 4) the prejudice to the original parties due to
       the proposed intervenors’ failure to promptly intervene after they knew
       or reasonably should have known of their interest in the case; and 5)
       the existence of unusual circumstances militating against or in favor of
       intervention.

Zelman, 636 F.3d at 284. While the “determination of whether a motion to

intervene is timely should be evaluated in the context of all relevant

circumstances,” “[t]he most important consideration in deciding whether a motion

for intervention is untimely is whether the delay in moving for intervention will

prejudice the existing parties in the case.” Zelman, 636 F.3d at 284; Davis v.

Lifetime Capital, Inc., 560 F. App’x 477, 493 (6th Cir. 2014). “The only prejudice

relevant to the timeliness determination is incremental prejudice from a would-be

intervenor’s delay in intervening, not prejudice from the intervention in and of

itself.” Davis, 560 F. App’x at 493.

       Here, Central Seal and Charbon seek leave to intervene within weeks of

becoming apprised of how USDOT intended to implement and enforce the Court’s

injunction with respect to KYTC. (See Verified Compl., Exh. A, ¶ 2.) Unusual

circumstances weighing in favor of intervention are present because before KYTC

issued its guidance memorandum, Central Seal and Charbon could not have known


                                             7
Case: 3:23-cv-00072-GFVT-EBA        Doc #: 53 Filed: 01/01/25       Page: 8 of 15 - Page
                                      ID#: 874



whether Defendants would pause enforcement of the DBE program entirely or make

some other changes to the program that may have nullified any need to file suit.

This lack of clarity was especially true before the Court clarified the scope of its

injunction and further explained the impact of new case law on its ability to grant

injunctions that protect non-parties. (See DN 50.)

      Intervention is also sought shortly after the Court entered its Scheduling

Order on December 12, 2024 and, presumably, before significant discovery has been

conducted among the original parties to this action. (Id.) By seeking to intervene at

the beginning of discovery, prejudice like that caused in cases where a party seeks

to intervene at or near the conclusion of discovery is not present here. Contra Suter

v. Appalachian Reg’l Healthcare, 2105 WL 12990211, at *1–*2 (E.D. Ky. Mar. 6,

2015) (motion to intervene held untimely “[b]ecause this litigation is nearly at an

end[.]”). Thus, neither Plaintiffs nor Defendants will be prejudiced by the timing of

Central Seal and Charbon’s intervention.

             2.     Central Seal and Charbon have a substantial legal
                    interest in the case.

      Second, Central Seal and Charbon have a substantial legal interest in the

case. The Sixth Circuit has adopted “a rather expansive notion of the interest

sufficient to invoke intervention of right,” which ensures that the interest test

serves “primarily [as] a practical guide to disposing of lawsuits by involving as

many apparently concerned persons as is compatible with efficiency and due

process.” Providence Baptist Church v. Hillandale Comm., Ltd., 415 F.3d 309, 315




                                           8
Case: 3:23-cv-00072-GFVT-EBA        Doc #: 53 Filed: 01/01/25      Page: 9 of 15 - Page
                                      ID#: 875



(6th Cir. 2005); United States v. Rutherford Cty., Tenn., No. 3:12-0737, 2012 WL

3775980, at *4 (M.D. Tenn. Aug. 29, 2012).

      Central Seal and Charbon—just like MAMCO and Bagshaw—are contractors

directly impacted by USDOT’s DBE program and have a substantial legal interest

in challenging the constitutionality of the program. Both have lost bids on projects

let by KYTC, as well as other state and federal agencies, solely as a result of these

agencies’ implementation of USDOT’s unconstitutional DBE program regulations.

Both are ready, able, and willing to bid in the future on projects impacted by DBE

programs implemented by USDOT, KYTC, and other federal and state agencies.

Because Central Seal and Charbon are currently not protected by the Court’s

injunction as “non-parties” to the suit, they simply seek to intervene to request

injunctive relief similar to that afforded to MAMCO and Bagshaw.

             3.     Intervention is necessary to protect Central Seal and
                    Charbon’s interests.

      Third, intervention is necessary to protect Central Seal and Charbon’s

interests. “To satisfy this element of the intervention test, a would-be intervenor

must show only that impairment of its substantial legal interest is possible if

intervention is denied. This burden is minimal.” Grutter v. Bollinger, 188 F.3d 394,

399 (6th Cir. 1999) (citation omitted). The Sixth Circuit has noted that “potential

stare decisis effects can be a sufficient basis for finding an impairment of interest.”

Michigan State AFL-CIO v. Miller, 103 F.3d 1240, 1247 (6th Cir. 1997) (citation

omitted). And to claim potential stare decisis effects, the would-be intervenor need




                                           9
Case: 3:23-cv-00072-GFVT-EBA        Doc #: 53 Filed: 01/01/25       Page: 10 of 15 - Page
                                       ID#: 876



not prove that “impairment will inevitably ensue from an unfavorable disposition.”

Purnell v. City of Akron, 925 F.2d 941, 948–49 (6th Cir. 1991).

      MAMCO and Bagshaw have sought a determination that the USDOT’s DBE

program is unconstitutional. Although Central Seal and Charbon have similar

contracting businesses, and the outcome of this litigation will directly impact how

Central Seal and Charbon conduct business with KYTC and other federal fund

recipients, they are currently deemed non-parties without the ability to make their

positions known to the Court. Without intervention, Central Seal and Charbon will

not only lack protection under the Court’s current injunction, but also they will be

unable to ensure that future arguments made to the Court are shaped by their own

experiences and injuries or reflect the positions of law they believe to be

determinative. Considering the impact of their present exclusion from the suit and

scope of the Court’s injunction, as well as the possible effects of stare decisis, there

is no question that the “impairment” prong of intervention is satisfied.

             4.     MAMCO and Bagshaw inadequately represent Central
                    Seal and Charbon.

      Finally, intervention of right is appropriate because MAMCO and Bagshaw

inadequately represent Central Seal and Charbon. Because “[t]here is good reason

in most cases to suppose that the applicant is the best judge of the representation of

the applicant’s own interests[,]” courts should “be liberal in finding that one who is

willing to bear the cost of separate representation may not be adequately

represented by the existing parties.” 7C Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure, § 1909 (3d. ed. 2002).


                                           10
Case: 3:23-cv-00072-GFVT-EBA      Doc #: 53 Filed: 01/01/25     Page: 11 of 15 - Page
                                     ID#: 877



       Under this general rule, “the proposed intervenors are ‘not required to show

that the representation will in fact be inadequate.’” Grutter, 188 F.3d at 400

(citation omitted). “Indeed, ‘[i]t may be enough to show that the existing party who

purports to seek the same outcome will not make all of the prospective intervenor’s

arguments.’” Id. Further, because “[t]he proposed intervenors need show only that

there is a potential for inadequate representation,” their “burden in showing

inadequacy is ‘minimal.’” Id.

       MAMCO and Bagshaw do not adequately represent Central Seal and

Charbon for two reasons. First, unlike Central Seal and Charbon, MAMCO and

Bagshaw are already protected by the scope of the Court’s injunction. Simply put,

there is no reason for MAMCO and Bagshaw to expend effort asking the Court to

extend the scope of its injunction further. Consequently, unless Central Seal and

Charbon are permitted to intervene, no party will make any additional arguments

in favor of expanding the scope of the injunction. Second, though their interests are

generally aligned, Central Seal and Charbon bid on different projects than MAMCO

and Bagshaw. Because these projects have the potential to occur in different states

and/or against different subsets of competition than those for which MAMCO and

Bagshaw bid, there exists the potential that MAMCO and Bagshaw will not

adequately represent Central Seal and Charbon’s interests at all points in the

litigation.




                                         11
Case: 3:23-cv-00072-GFVT-EBA       Doc #: 53 Filed: 01/01/25     Page: 12 of 15 - Page
                                      ID#: 878



       B.     The Court should allow permissive intervention in the
              alternative.

       Were the Court to conclude that Central Seal and Charbon are not entitled to

intervention of right, it should allow permissive intervention in the alternative. “To

intervene permissively, a proposed intervenor must establish that the motion for

intervention is timely and alleges at least one common question of law or fact.”

United States v. Michigan, 424 F.3d 438, 445 (6th Cir. 2005) (referencing Fed. R.

Civ. P. 24(b)(1)(B)).

       Here, Central Seal and Charbon’s motion is timely and includes a multitude

of common questions of law or facts. Like MAMCO and Bagshaw, Central Seal and

Charbon are contractors who bid on USDOT projects, KYTC projects, and other

agencies’ projects and who have lost bids in favor of parties who received the

unconstitutional benefit of the DBE program. And just like MAMCO and Bagshaw,

Central Seal and Charbon seek to put forth arguments in support of a permanent

injunction and holding that the DBE program is unconstitutional and cannot

continue to be enforced. For these reasons, and because litigation in this matter

remains at an early stage, the Court should allow permissive intervention.

II.    Central Seal and Charbon’s intervention will constitute a changed
       circumstance warranting modification of the preliminary injunction.

       “Courts have long held the power to modify injunctions, whether to narrow or

broaden them.” LFP IP, LLC v. Hustler Cincinnati, Inc., 810 F.3d 424, 426 (6th Cir.

2016). “That power flows from the nature of injunctive relief.” Cernell v. Graminex,

L.L.C., 437 F. Supp. 3d 574, 596 (E.D. Mich. 2020). “Injunctions frequently demand

‘continuing supervision by the issuing court and always a continuing willingness to

                                         12
Case: 3:23-cv-00072-GFVT-EBA       Doc #: 53 Filed: 01/01/25      Page: 13 of 15 - Page
                                      ID#: 879



apply its powers and processes on behalf of the party who obtained that equitable

relief.’” Hustler, 810 F.3d at 426. “Courts thus may exercise their ‘sound judicial

discretion’ to modify an injunction ‘if the circumstances, whether of law or fact,

obtaining at the time of its issuance have changed, or new ones have since arisen.’”

Id. (citations omitted).

      This Court has already determined that, because the USDOT’s “race and

gender classifications violate the Constitution’s guarantee of equal protection[,]”

MAMCO and Bagshaw are entitled to a preliminary injunction preventing “the use

of race- and gender-based presumptions for [USDOT] contracts impacted by DBE

goals upon which [MAMCO and Bagshaw] bid.” (DN 44 at 1, 27.) In limiting the

scope of its injunction, however, the Court indicated that its injunction applied only

to contracts for which MAMCO and Bagshaw—as parties to the litigation—intended

to bid and not to any other contracts or parties. (See DN 44 at 27 (quoting Comm v.

Biden, 57 F.4th 545, 557 (6th Cir. 2023); see also DN 50).

      Absent a modification of the Court’s injunction, Central Seal and Charbon

will continue to suffer injuries as a direct result of USDOT’s unconstitutional

implementation of DBE regulations, forcing them to “compete in a race-based

system” that prejudices them. Mid-America Milling Company, LLC v. U.S. Dept. of

Transp., 2024 WL 4267183, at *3 (E.D. Ky. Sept. 23, 20224) (citing Parents Involved

in Cmty. Schs. V. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007)). The Court

previously determined Defendants’ conduct to be unconstitutional. If the Court

allows Central Seal and Charbon to intervene in this action, however,



                                          13
Case: 3:23-cv-00072-GFVT-EBA       Doc #: 53 Filed: 01/01/25      Page: 14 of 15 - Page
                                      ID#: 880



circumstances will have changed giving rise to the need for a narrow expansion of

the Court’s injunction. Accordingly, for these reasons, and for all of the reasons

previously discussed in the Court’s order granting MAMCO and Bagshaw a

preliminary injunction (DN 44), Central Seal and Charbon move the Court to

expand the scope of its preliminary injunction to apply to all contracts impacted by

DBE goals upon which Central Seal and Charbon bid.

                                   CONCLUSION

       For the foregoing reasons, Central Seal and Charbon request that the Court

enter the attached proposed order granting their intervention in this matter and

expanding the scope of the Court’s preliminary injunctive orders (DN 44, 50) to also

apply to all contracts impacted by DBE goals upon which Central Seal and Charbon

bid.



                                        Respectfully submitted,

                                        /s/ Frederick R. Bentley III
                                        David B. Owsley II
                                        Frederick R. Bentley III
                                        Kyle S. Schroader
                                        STITES & HARBISON PLLC
                                        400 West Market Street, Suite 1800
                                        Louisville, KY 40202
                                        Telephone: (502) 587-3400
                                        dowsley@stites.com
                                        rbentley@stites.com
                                        kschroader@stites.com

                                        Counsel for Central Seal and Charbon




                                          14
Case: 3:23-cv-00072-GFVT-EBA       Doc #: 53 Filed: 01/01/25     Page: 15 of 15 - Page
                                      ID#: 881




                           CERTIFICATE OF SERVICE

      This is to certify that the foregoing was served on all following counsel of
record via the Court’s electronic filing system on this 1st day of January, 2025.


                                        /s/ Frederick R. Bentley III
                                        Frederick R. Bentley III




                                          15
